Case 22-18303-JKS   Doc 159-3 Filed 10/05/23 Entered 10/05/23 12:56:09   Desc
                     Exhibit B to Certification Page 1 of 3



                             EXHIBIT B
     Case 22-18303-JKS Doc 159-3 Filed 10/05/23 Entered 10/05/23 12:56:09                          Desc
UNITED STATES BANKRUPTCYExhibit
                           COURTB to Certification Page 2 of 3
DISTRICT OF NEW JERSEY
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 POLITAN LAW, LLC
 88 East Main Street, #502
 Mendham, New Jersey 07945
 Mark J. Politan, Esq.                                                     Order Filed on June 12, 2023
                                                                           by Clerk
                                                                           U.S. Bankruptcy Court
 Subchapter V Trustee                                                      District of New Jersey



In Re:                                                   Case No.:       ____________________
                                                                               22-18303
 ALEXANDRE J. DACOSTA and                                                    6/1/2023
                                                         Hearing Date: ____________________
 VIVIANNE C. ANTUNES
                                                         Judge:          _____________________
                                                                                Sherwood
                                            Debtors.
                                                         Chapter:        _____________________
                                                                               11 (Sub V)




                                    25'(5*5$17,1*$//2:$1&(6


         The relief set forth on the following page is hereby 25'(5('.




         DATED: June 12, 2023
Case 22-18303-JKS           Doc 159-3 Filed 10/05/23 Entered 10/05/23 12:56:09                  Desc
                             Exhibit B to Certification Page 3 of 3




       The Court having found that the person named below filed an application for
allowances [ECF No. 111]; and notice and opportunity for hearing were given to creditors and
other parties in interest as required; and no objection(s) were filed to the application; and for
good cause shown; it is
       ORDERED that compensation and expenses are allowedas follows:


       APPLICANTS                      COMMISSION/FEES                        EXPENSES

    Mark J. Politan, Esq.                    $8,120.00                     $100.60




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